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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


    ANTHONY OLIVER,

                 Plaintiff,                                     CIVIL ACTION NO.: 418-cv-213

         v.

    ADAM PARKER MASSEY and DOES 1
    THROUGH 10,

                 Defendants.


                                              ORDER

        After a careful de novo review of the entire record, the Court concurs with the Magistrate

Judge's August 25, 2020, Report and Recommendation, (doc. 17), to which Plaintiff has not filed

objections. Accordingly, the Court ADOPTS the Report and Recommendation, (doc. 17), as its

opinion and imposes those restrictions adopted in Oliver v. County of Chatham, et al., 4:17-cv-

101, doc. 189 (S.D. Ga. Mar. 30, 2018) and several other cases brought by Oliver before this

Court. 1 Plaintiff is DIRECTED to post a $1,000 contempt bond and affidavit swearing that he

has read Federal Rule of Civil Procedure 11 with the Clerk of Court within 14 days of this Order.




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   Filing restrictions have been imposed in Oliver v. County of Chatham, et al., 4:17-cv-101, doc. 189 at 7
(S.D. Ga. Mar. 30, 2018), adopted by doc. 220 (S.D. Ga. May 31, 2018); Oliver v. City of Pooler, et al.,
4:18-cv-100, doc 53 (S.D. Ga. Jan. 29, 2019), adopted by doc. 59 (S.D. Ga. Feb. 28, 2019); Oliver v. Lyft,
Inc., 4:19-cv-063, doc. 13 at 4–7 (S.D. Ga. Sept. 13, 2019), adopted by doc. 115 (S.D. Ga. Oct. 21, 2019);
Oliver v. Lyft, Inc., 4:19-cv-125, doc. 54 (S.D. Ga. Sept. 13, 2019), adopted by doc. 56 (S.D. Ga. Oct. 21,
2019).
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If plaintiff fails to post the required bond and submit the affidavit with 14 days, his complaint will

be DISMISSED and the Clerk of Court will CLOSE this case.

       SO ORDERED, this 19th day of October, 2020.




                                       R. STAN BAKER
                                       UNITED STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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